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                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
                                                                             Laura E. Inlow, Esq., State Bar No. 130584
                                                                             Email: laura.inlow@cdiglaw.com
                                                                         3   21515 Hawthorne Blvd., Suite 800
                                                                         4   Torrance, CA 90503
                                                                             Telephone: (424) 212-7777
                                                                         5   Facsimile: (424) 212-7757
                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8
                                                                                                 UNITED STATES DISTRICT COURT
                                                                         9
                                                                                   CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                        CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                               Plaintiff,            DEFENDANT COUNTY OF LOS
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                     ANGELES’ MOTION FOR
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                          SUMMARY JUDGMENT OR, IN
                                                                        14                                           THE ALTERNATIVE, MOTION
                                                                             COUNTY OF LOS ANGELES, a                FOR PARTIAL SUMMARY
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                       JUDGMENT
                                                                        16   DEPARTMENT, a public entity;
                                                                             SHERIFF JAMES MCDONNELL, in             [Filed Concurrently with Statement of
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH              Uncontroverted Facts, Appendix of
                                                                        18   COLLINS, individually and in his        Exhibits, Declarations of Laura E.
                                                                             official capacity as a Deputy, and      Inlow, Lt. Ron Kopperud, Tim Berns,
                                                                        19   DOES 1 through 10, inclusive
                                                                                                                     and Lt. Douglas Kimura; and
                                                                        20                     Defendants.           [Proposed] Order]
                                                                        21                                           Date: November 30, 2020
                                                                        22                                           Time: 1:30 p.m.
                                                                                                                     Dept.: 10A
                                                                        23

                                                                        24                                Action Filed: September 18, 2019
                                                                                                          Trial Date: January 12, 2021
                                                                        25   TO THE HONORABLE COURT, PLAINTIFF AND HIS ATTORNEY OF
                                                                        26   RECORD:
                                                                        27        PLEASE TAKE NOTICE that on November 30, 2020 at 1:30 p.m. in
                                                                        28
                                                                             ______________________________________________________________________________
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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1   Courtroom 10A of the United States District Court, located at 350 W. 1st Street,
                                                                         2   Los Angeles, California 90012, defendant COUNTY OF LOS ANGELES will and
                                                                         3
                                                                             hereby does move the Court for an order granting its Motion for Summary
                                                                         4
                                                                             Judgment or, in the alternative, motion for partial summary judgment pursuant to
                                                                         5

                                                                         6
                                                                             Federal Rules of Civil Procedure, Rule 56.

                                                                         7          This motion is based on the grounds that all remaining causes of action in
                                                                         8   the First Amended Complaint (Docket Document No. 28) directed to the County of
                                                                         9   Los Angeles fail as a matter of law 1. Specifically, defendant moves for summary
                                                                        10
                                                                             judgment or partial summary judgment on the following bases:
                                                                        11
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                                                                                    1) Plaintiff’s Monell claims under 42 U.S.C. § 1983 are time-barred;
                                                                        12
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                                                                                    2) Plaintiff’s seventh cause of action alleging Monell violations under 42
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   U.S.C. § 1983 fails as a matter of law even if not time-barred; and
                                                                        15          3) The state law claims fail as a matter of law.
                                                                        16          This motion shall be supported by this Notice, the attached Memorandum of
                                                                        17
                                                                             Points and Authorities, the Statement of Uncontroverted Facts and Law, all
                                                                        18
                                                                             declarations, the Appendix of Exhibits, and upon all papers and pleadings on file
                                                                        19

                                                                        20
                                                                             herein.

                                                                        21

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                                                                        27          1
                                                                                      The Court has limited the current causes of action in its Order of July 7, 2020 to the
                                                                             timeliness of the 1983 claims against the County and the Monell claim. (Docket Document No.
                                                                        28   38).
                                                                             ______________________________________________________________________________
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                                                                         1                       MEET AND CONFER COMPLIANCE
                                                                         2         The parties met and conferred regarding the instant motion on October 19,
                                                                         3
                                                                             2020, but were unable to reach an agreement, thus necessitating the instant motion.
                                                                         4

                                                                         5

                                                                         6
                                                                             DATED: October 26, 2020           COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         7
                                                                                                             By:
                                                                         8                                         /s/ Laura E. Inlow
                                                                                                                   Laura E. Inlow, Esq.
                                                                         9
                                                                                                                   Attorneys for Defendant
                                                                        10                                         COUNTY OF LOS ANGELES
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
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                                                                         1
                                                                                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                                         2
                                                                                I. INTRODUCTION AND UNDISPUTED FACTS
                                                                         3

                                                                         4               A.    Procedural Status
                                                                         5          On September 18, 2019, Plaintiff Daniel Nersoyan filed his original
                                                                         6
                                                                             complaint. (Docket Document No. 1). Following a motion to dismiss, plaintiff filed
                                                                         7
                                                                             the operative First Amended Complaint (FAC) on January 24, 2020. (Docket Doc.
                                                                         8

                                                                         9   No. 28). Defendant County of Los Angeles (“County”) filed another motion to
                                                                        10
                                                                             dismiss which was granted in part and denied in part. (Docket Doc. No. 38).
                                                                        11
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                                                                             Pursuant to the Court’s order on the motion to dismiss, the only issues currently
                                                                        12
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                                                                        13   pending as to the County are: 1) the substantive Monell claims under 42 U.S.C. §
                                                                        14
                                                                             1983 and 2) whether plaintiff’s section 1983 claims are time-barred. (Docket Doc.
                                                                        15
                                                                             No. 38).2
                                                                        16

                                                                        17               B.    Plaintiff’s Allegations in the FAC
                                                                        18         Plaintiff brings this lawsuit based on a theft allegedly occurring on May 28,
                                                                        19
                                                                             2014. (Undisputed Material Fact (UMF) 1). 3 Specifically, Nersoyan alleges that his
                                                                        20
                                                                             unidentified “colleague/employee,” an unidentified “broker” and an associate of
                                                                        21

                                                                        22   the broker, while in possession of plaintiff’s cash in an amount exceeding
                                                                        23
                                                                             $150,000, were improperly stopped by defendant former deputy Kenneth Collins,
                                                                        24
                                                                             the cash was seized, and at least one person was taken into custody. (UMF 2).
                                                                        25

                                                                        26
                                                                                   2
                                                                                       Former Sheriff McDonnell was dismissed by this Court. (Docket Document No. 42).
                                                                        27
                                                                                   3
                                                                                    Per the Court’s ruling, only the alleged theft of May 28, 2014 is at issue. (Docket
                                                                        28   Document No. 38).
                                                                             ______________________________________________________________________________
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                                                                         1   Plaintiff alleges he soon thereafter called the Los Angeles County Sheriff’s
                                                                         2
                                                                             Department (LASD) to complain about the theft, but the LASD had no interest in
                                                                         3

                                                                         4   investigating his complaint and represented that it had no information about the

                                                                         5   alleged theft. (UMF 3). Plaintiff alleges that he has submitted multiple claims to
                                                                         6
                                                                             the County that have been ignored related to this incident. (UMF 4). Finally,
                                                                         7

                                                                         8   plaintiff asserts that the County misled him by denying that any County personnel

                                                                         9   had been involved. (UMF 5).
                                                                        10
                                                                                      C.    The Alleged Theft of May 28, 2014
                                                                        11
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                                                                                   On May 28, 2014, former LASD deputy Kenneth Collins conducted a bogus
                                                                        12
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                                                                             traffic stop of a vehicle and took possession of cash which plaintiff claims
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   belonged to him. (UMF 6). Plaintiff admits that the broker and his associate, to
                                                                        15
                                                                             whom he entrusted the money, helped set up the theft with Collins. (UMF 7).
                                                                        16

                                                                        17   Plaintiff has been inconsistent about the amount of cash allegedly stolen, claiming
                                                                        18   it was between $150,000 and $160,000. (UMF 8). Plaintiff has provided no
                                                                        19
                                                                             documentary proof that the money was his or that he had any legal entitlement to
                                                                        20

                                                                        21   the allegedly stolen cash. (UMF 9). Plaintiff claims he gave the cash to a “broker”
                                                                        22   to purchase a diamond necklace. He did not know where the necklace was located
                                                                        23
                                                                             and had not vetted the authenticity of the necklace. (UMF 10). The broker, an
                                                                        24

                                                                        25   associate of the broker, and plaintiff’s colleague/employee, Hyrum Dubon, left
                                                                        26   plaintiff’s office with the cash on the afternoon of May 28, 2014. They were to
                                                                        27
                                                                             return with the necklace within one to two hours. (UMF 11).
                                                                        28
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                                                                         1         When his colleague/employee failed to return with the necklace, Nersoyan
                                                                         2
                                                                             got nervous and began calling him, but Dubon did not answer his phone. (UMF
                                                                         3

                                                                         4   12). Shortly thereafter, the broker called Nersoyan to report he was nervous as he

                                                                         5   was getting pulled over by a Sheriff’s deputy. (UMF 13). The next call Nersoyan
                                                                         6
                                                                             got was from Dubon who told him a male African American sheriff’s deputy had
                                                                         7

                                                                         8   taken the cash and taken the broker’s associate into custody. (UMF 14).

                                                                         9            D.     Plaintiff’s Contacts with the Sheriff’s Department in 2014
                                                                        10         On May 28, 2014, Nersoyan called information to obtain the phone numbers
                                                                        11
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                                                                             for the 3-4 Sheriff stations close to where he was told the theft occurred on East
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
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                                                                             Slauson Blvd. He called each station on May 28, 2014 and asked whoever
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   answered the phone if a black deputy had brought in an arrestee with a large
                                                                        15
                                                                             amount of cash. Each station denied any such activity. (UMF 15). Plaintiff admits
                                                                        16

                                                                        17   that Collins never made a report about the May 28, 2014 incident and never
                                                                        18   booked the cash into evidence. (UMF 16). Plaintiff also admits that no station
                                                                        19
                                                                             misled him, and each Sheriff’s station was telling him the truth on May 28, 2014
                                                                        20

                                                                        21   when they denied any arrests involving a large amount of cash. (UMF 17). Plaintiff
                                                                        22   also admits that he never got any information from any source that the Sheriff’s
                                                                        23
                                                                             Department had any knowledge prior to May 28, 2014 that Collins intended to
                                                                        24

                                                                        25   steal the cash. (UMF 18). Collins has testified that no one from the Sheriff’s
                                                                        26   Department knew about his illegal activities. (UMF 19). Nersoyan never called 911
                                                                        27
                                                                             or went to any Sheriff’s station to make a theft report or to demand that an
                                                                        28
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                                                                         1   investigation be opened. He never sent any letters or emails to the Sheriff’s
                                                                         2
                                                                             Department about the theft. (UMF 20).
                                                                         3

                                                                         4         The next day, May 29, 2014, Nersoyan sent his other employee, Andy

                                                                         5   Bagdasarian, to the scene of the theft and Andy obtained two videotapes, one from
                                                                         6
                                                                             a gas station and one from the traffic stop. (UMF 21). Despite the claims in the
                                                                         7

                                                                         8   FAC, plaintiff admitted that he never gave these videotapes to or discussed the

                                                                         9   tapes with anyone at the Sheriff’s Department. (UMF 22). Instead, in June of 2014,
                                                                        10
                                                                             Nersoyan gave the tapes to the FBI which promised to investigate the matter.
                                                                        11
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                                                                        12   (UMF 23). Plaintiff claims the FBI encouraged him to have no contact with the
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                                                                        13   Sheriff’s Department to protect their investigation. (UMF 24). Plaintiff called the
                                                                        14
                                                                             FBI several times between June and November of 2014, but the FBI did not seem
                                                                        15

                                                                        16   to be progressing in their investigation. (UMF 25).
                                                                        17            E.     Plaintiff’s Government Tort Claim of November 2014
                                                                        18          Between May 28, 2014 and November 14, plaintiff placed one other call to
                                                                        19
                                                                             an unidentified Sheriff’s station to express his anger about the alleged theft. (UMF
                                                                        20

                                                                        21   26). Plaintiff had no other communication with anyone in the Sheriff’s Department
                                                                        22   between May 28, 2014 and November 18, 2014. (UMF 27). By November of 2014,
                                                                        23
                                                                             Nersoyan was so frustrated with the FBI that on November 18, 2014, he and his
                                                                        24

                                                                        25   attorney submitted a Government Tort Claim to the County alleging that an
                                                                        26   unidentified deputy stole $158,000 from one of his employees during a traffic stop
                                                                        27

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                                                                         1   on May 28, 2014. (UMF 28). Then Sergeant, now Lieutenant Douglas Kimura, was
                                                                         2
                                                                             assigned to investigate the allegations of the claim. (UMF 29).
                                                                         3

                                                                         4          As Nersoyan’s claim had provided only a partial vehicle identification

                                                                         5   number, Sgt. Kimura initially used department resources to determine which patrol
                                                                         6
                                                                             car(s) could have been involved. (UMF 30). Sgt. Kimura also tried to contact both
                                                                         7

                                                                         8   Nersoyan and the alleged employee on several occasions without success. As

                                                                         9   Nersoyan never called him back, Sgt. Kimura sent him a certified letter on
                                                                        10
                                                                             December 16, 2014. (UMF 31). On December 17, 2014, Sgt. Kimura spoke with
                                                                        11
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                                                                        12   Nersoyan by telephone and learned the alleged May 28, 2014 incident was
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                                                                        13   captured on videotape which was in the possession of Mr. Nersoyan’s attorney.
                                                                        14
                                                                             When Sgt. Kimura requested a copy of the videotape, Nersoyan terminated the call
                                                                        15

                                                                        16   and referred Sgt. Kimura to his attorney. (UMF 32).
                                                                        17          Between December 17, 2014 and January 6, 2015, Sgt. Kimura left several
                                                                        18
                                                                             messages for Nersoyan’s attorney without reaching him. On January 6, 2015, Sgt.
                                                                        19

                                                                        20   Kimura called Claimant Nersoyan again and advised him that he had not been able
                                                                        21   to contact his counsel. (UMF 33). On January 13, 2015, Sgt. Kimura interviewed
                                                                        22
                                                                             Collins who stated he had been assigned to the Emerging Leaders Academy (ELA)
                                                                        23

                                                                        24   program since 2012. Collins denied any involvement with the alleged theft of May
                                                                        25   28, 2014, asserting that he had never made a traffic stop while assigned to ELA.
                                                                        26
                                                                             (UMF 34). On January 16, 2015, the County mailed Nersoyan a letter denying his
                                                                        27

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                                                                         1   November 2014 claim for damages. The claim denial letter advised Nersoyan that
                                                                         2
                                                                             he had six (6) months from the date of the denial in which to file suit. (UMF 35).
                                                                         3

                                                                         4          Having received no additional information or telephone calls from

                                                                         5   Nersoyan or his attorney, Sgt. Kimura mailed a second letter to Nersoyan on
                                                                         6
                                                                             January 27, 2015, advising him that his investigative efforts had been exhausted
                                                                         7

                                                                         8   due to Nersoyan’s lack of cooperation and instructing him to contact the Los

                                                                         9   Angeles Police Department regarding the claim as the location of the alleged
                                                                        10
                                                                             incident was within the jurisdiction of the LAPD Newton Division. (UMF 36). In
                                                                        11
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                                                                        12   his deposition, however, Nersoyan denied having any contact whatsoever with
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                                                                        13   anyone at the Sheriff’s department after he and his attorney filed his claim, denied
                                                                        14
                                                                             ever speaking with Sgt. Kimura, and denied getting the two certified letters,
                                                                        15

                                                                        16   although he confirmed they were sent to the correct address. (UMF 37). Plaintiff
                                                                        17   and his attorney considered filing a lawsuit against the LASD in 2015 but did not.
                                                                        18
                                                                             Nothing by the Sheriff’s department dissuaded plaintiff from filing a lawsuit in
                                                                        19

                                                                        20   2014 or 2015. (UMF 38).
                                                                        21          On January 29, 2015, Claimant’s attorney called Sgt. Kimura and stated he
                                                                        22
                                                                             had the videotape. Sgt. Kimura arranged to go to the attorney’s office on February
                                                                        23

                                                                        24   5, 2015 to view the tape. However, on February 3, 2015 the attorney’s office left a
                                                                        25   voice message cancelling the meeting. Sgt. Kimura attempted to reschedule but
                                                                        26
                                                                             was not provided a new date. (UMF 39). As of February 10, 2015, Sgt. Kimura had
                                                                        27

                                                                        28   not heard further from the attorney’s office. Based on the available information and
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                                                                         1   the lack of cooperation by Nersoyan, Sgt. Kimura determined there was
                                                                         2
                                                                             insufficient evidence to substantiate Claimant Nersoyan’s claim or to identify the
                                                                         3

                                                                         4   allegedly involved deputy. (UMF 40). Nersoyan admits he had no contact with

                                                                         5   anyone at the Sheriff’s Department in 2015, 2016, 2017 or 2018. Nersoyan also
                                                                         6
                                                                             admits he took no steps to pursue his claim against the County in 2015, 2016, 2017
                                                                         7

                                                                         8   or 2018. (UMF 41).

                                                                         9            F.     Plaintiff Takes no Action Until 2019 after Collins was Arrested
                                                                        10          In 2017, LASD Detective Tim Berns, who is now retired, was assigned to
                                                                        11
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                                                                             Fraud and Cyber Crimes working on a joint ID Theft Task Force with the FBI,
                                                                        12
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                                                                             Secret Service, and Customs. A Reliable Confidential Informant (RCI) told Det.
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                                                                        13

                                                                        14   Berns about a then unidentified “dirty cop” initially believed to be with either the
                                                                        15
                                                                             Riverside or San Bernardino Sheriff’s. Det. Berns shared this information with the
                                                                        16

                                                                        17   FBI Agent on his joint taskforce. (UMF 42). A few weeks later the RCI determined
                                                                        18   the name of the dirty officer was Kenneth Collins. Det. Berns ran the name through
                                                                        19
                                                                             the LASD database and determined Collins was with the LASD. Det. Berns shared
                                                                        20

                                                                        21   this information with his sergeant, his captain, and the FBI. (UMF 43). While Det.
                                                                        22   Berns assisted the FBI as needed, the FBI conducted the investigation and ran the
                                                                        23
                                                                             sting operation which resulted in the arrests of Collins and others, including Grant
                                                                        24

                                                                        25   Valencia, on January 16, 2018. Both Collins and Valencia were convicted of
                                                                        26   federal crimes and Collins continues to be incarcerated in federal custody in Texas.
                                                                        27
                                                                             (UMF 44).
                                                                        28
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                                                                         1         Valencia filed a lawsuit against the County on December 14, 2018 alleging
                                                                         2
                                                                             negligent supervision and retention and a Monell claim for failure to investigate
                                                                         3

                                                                         4   which he claimed resulted in his arrest with Collins. The County’s motion for

                                                                         5   summary judgment was granted in full on February 24, 2020. Valencia has filed a
                                                                         6
                                                                             notice of appeal but has yet to file his opening brief. (UMF 45).
                                                                         7

                                                                         8         Nersoyan testified that while he was in federal custody at the Metropolitan

                                                                         9   Detention Center (MDC) on charges of a felon on possession of a gun and
                                                                        10
                                                                             conspiracy to sell heroin from June of 2017 to October of 2018, the FBI
                                                                        11
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                                                                        12   approached him and told him that Kenneth Collins stole his money on May 28,
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                                                                        13   2014. (UMF 46). After he was released on parole, Nersoyan through his attorney,
                                                                        14
                                                                             Michael Devereaux, on April 4, 2019 submitted an Amended Government Tort
                                                                        15

                                                                        16   Claim pertaining to the May 28, 2014 theft. (UMF 47). The County denied the
                                                                        17   Amended Claim as untimely on April 8, 2019. (UMF 48). Plaintiff filed this
                                                                        18
                                                                             lawsuit on September 18, 2019. (UMF 1).
                                                                        19

                                                                        20            G.    County Policies on Hiring, Retention, and Discipline
                                                                        21          At all times relevant to this matter, the County had written policies
                                                                        22   regarding the retention and discipline of deputies. (UMF 49). Additionally, per
                                                                        23
                                                                             written policy, all known civilian and personnel complaints about deputy personnel
                                                                        24

                                                                        25   were investigated and, if warranted, the deputy was subject to discipline ranging
                                                                        26   from re-training to termination for both on-duty and off-duty incidents. (UMF 50).
                                                                        27

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                                                                         1            H. Employment History of Former Deputy Collins
                                                                         2         Collins served as a combat medic in the Army from 1985-1988 and has an
                                                                         3
                                                                             AA degree in criminal justice. He worked as an EMT from 1989-2001 and then
                                                                         4

                                                                         5   attended the Sheriff’s Academy graduating in 2002. (UMF 51). Collins had various

                                                                         6   duty assignments until he was loaned from the Community Oriented Policing
                                                                         7
                                                                             (COPS) Bureau to ELA for about two years starting in 2012. From 2014 to 2016,
                                                                         8

                                                                         9   he was assigned to patrol out of the Alta Dena station. From 2016 until his arrest in

                                                                        10   January of 2018, he was assigned to County Services. (UMF 52).
                                                                        11
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                                                                                    In the fifteen years in which Collins was employed as a deputy Sheriff, he
                                                                        12
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                                                                             received eight (8) public commendations and five (5) Unit Commander
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                                                                        13

                                                                        14   commendations. (UMF 53). He was also the subject of six civilian complaints,
                                                                        15
                                                                             which were all the subject of a full inquiry resulting in a Watch Commander’s
                                                                        16

                                                                        17   Service Comment Report. Aside from routine complaints of rude or discourteous
                                                                        18   service, three of the complaints alleged theft of money. (UMF 54). In 2007, two
                                                                        19
                                                                             suspects alleged that Deputy Collins and his partner had stolen money from them
                                                                        20

                                                                        21   during their arrest. The money had been seized and counted in the presence of a
                                                                        22   sergeant and neither suspect complained at the time of their booking. The conduct
                                                                        23
                                                                             of Deputy Collins was determined to be reasonable regarding that complaint.
                                                                        24

                                                                        25   (UMF 55).
                                                                        26   //
                                                                        27

                                                                        28
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                                                                         1            In 2008, another suspect complained that Collins and a different partner
                                                                         2
                                                                             had stolen money from a vehicle that had been sent to a tow yard. Again, the
                                                                         3

                                                                         4   suspect did not complain at the time of booking. After an inquiry resulting in a

                                                                         5   Watch Commander’s Service Comment Report, no determination was reached.
                                                                         6
                                                                             (UMF 56). The third claim for theft was by Nersoyan in 2014. (UMF 57).
                                                                         7

                                                                         8     II.      AUTHORITY FOR MOTION

                                                                         9           Summary judgment is appropriate when it is demonstrated that there exists
                                                                        10
                                                                             no genuine issue as to any material fact, and that the moving party is entitled to
                                                                        11
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                                                                        12   judgment as a matter of law. FRCP 56(c); Adickes v. S.H. Kress & Co. (1970) 398
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                                                                        13   U.S. 144, 157; Fortyune v. American Multi- Cinema, Inc., 364 F. 3d 1075, 1080
                                                                        14
                                                                             (9th Cir. 2004). “[W]here the nonmoving party will bear the burden of proof at trial
                                                                        15

                                                                        16   on a dispositive issue, a summary judgment motion may properly be made in
                                                                        17   reliance solely on the ‘pleadings, depositions, answers to interrogatories, and
                                                                        18
                                                                             admissions on file.” Celotex Corp v. Catrett (1986) 477 U.S. 317, 323.
                                                                        19

                                                                        20           Summary judgment should be entered against a party who fails to make a
                                                                        21   showing sufficient to establish the existence of an element essential to that party’s
                                                                        22
                                                                             case, and on which that party will bear the burden of proof at trial. Id. at 322. “[A]
                                                                        23

                                                                        24   complete failure of proof concerning an essential element of the nonmoving party’s
                                                                        25   case necessarily renders all other facts immaterial.” Id. The moving party has no
                                                                        26
                                                                             burden to negate or disprove matters on which the non-moving party has the
                                                                        27

                                                                        28   burden of proof at trial but need only point out to the Court through argument an
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                                                                         1   absence of evidence to support the non-moving party’s case. Devereaux v. Abbey,
                                                                         2
                                                                             263 F.3d 1070, 1076 (9th Cir. 2001).
                                                                         3

                                                                         4         The opposing party may not rely upon mere allegations or denials in its

                                                                         5   pleadings but is required to tender evidence of specific facts in the form of
                                                                         6
                                                                             affidavits and/or admissible discovery material, in support of its contention that the
                                                                         7

                                                                         8   dispute exists. FRCP 56 (c); Matsushita Elec. Indus. Co. v. Zenith Radio Corp.

                                                                         9   (1986) 475 U.S. 574, 586. The “purpose of summary judgment is to ‘pierce the
                                                                        10
                                                                             pleadings and to assess the proof in order to see whether there is a genuine need for
                                                                        11
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                                                                        12   trial.” Id. at 587. To demonstrate a genuine issue, the opposing party “must do
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                                                                        13   more than simply show that there is a mere metaphysical doubt as to the material
                                                                        14
                                                                             facts…Where the record taken as a whole could not lead a rational trier of fact to
                                                                        15

                                                                        16   find for the nonmoving party there is no ‘genuine issue for trial.” Id.; Scott v.
                                                                        17   Harris (2007) 550 U.S. 372, 380. Conclusory allegations unsupported by factual
                                                                        18
                                                                             data will not create a triable issue of fact allowing a party to survive a summary
                                                                        19

                                                                        20   judgment motion. Marks v. U.S., 578 F.2d 261, 263 (9th Cir. 1978); FTC v. Publ’g
                                                                        21   Clearing House, Inc., 104 F.3d 1168, 117 (9th Cir. 1996).
                                                                        22
                                                                              III. PLAINTIFF’S CLAIMS ARE TIME BARRED
                                                                        23

                                                                        24         Plaintiff alleges that the alleged theft occurred on May 28, 2014. (UMF 1).
                                                                        25   He also admits that he immediately knew about the incident and believed the theft
                                                                        26
                                                                             had been committed by a deputy sheriff. (UMF 14). By May 29, 2014, plaintiff
                                                                        27

                                                                        28   had videotape of the alleged theft. (UMF 21). In June of 2014, plaintiff advised
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                                                                         1   the FBI about the alleged theft and submitted the videotapes to the FBI. (UMF
                                                                         2
                                                                             23). Plaintiff admits he never gave the videotapes to the LASD, never initiated a
                                                                         3

                                                                         4   police report, and Collins never filed any reports or booked the cash. (UMF 16,

                                                                         5   17, 18 and 20). Plaintiff further admits that the County told him the truth when he
                                                                         6
                                                                             spoke with them on May 28, 2014. (UMF 17). Moreover, it was the FBI which
                                                                         7

                                                                         8   encouraged plaintiff to wait to file a tort claim, not the LASD. (UMF 24).

                                                                         9   Nonetheless, on November 18, 2014, Nersoyan submitted his Government Tort
                                                                        10
                                                                             Claim. (UMF 28). Yet, this suit was not filed until almost five (5) years later on
                                                                        11
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                                                                        12   September 18, 2019. (Docket Document No. 1).
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                                                                        13         A federal claim accrues when the plaintiff knows or has reason to know of
                                                                        14
                                                                             the injury which is the basis of the action.” Bagley v. CMC Real Estate Corp., 923
                                                                        15

                                                                        16   F.2d 758, 760 (9th Cir. 1991) (citations and internal quotations omitted); see also
                                                                        17   Wallace v. Kato, 549 U.S. 384, 388 (2007). The statute of limitations for federal
                                                                        18
                                                                             1983 claims is two years. Mills v. City of Covina, 921 F.3d 1161, 1166 (9th Cir.
                                                                        19

                                                                        20   2019); Canatella v. Van De Kamp, 486 F.3d 1128, 1132 (9th Cir. 2007).
                                                                        21         To avoid the obvious failure to comply with the two-year statute of
                                                                        22
                                                                             limitations for federal 1983 claims, plaintiff makes two attempts at equitable
                                                                        23

                                                                        24   estoppel or tolling. First, he claims his incarceration at MDC from June of 2018
                                                                        25   to October of 2019 tolled the statute of limitations (FAC, Docket Document No.
                                                                        26
                                                                             28, ¶ 16). This claim should be rejected as plaintiff’s cause of action accrued on
                                                                        27

                                                                        28   May 28, 2014 when he was on notice of the alleged theft by a deputy sheriff. As
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                                                                         1   such, the two-year statute of limitations had expired long before plaintiff was re-
                                                                         2
                                                                             arrested and incarcerated at MDC. Harding v. Galceran, 889 F.2d 906, 908 (9th
                                                                         3

                                                                         4   Cir. 1989); Torres v. City of Santa Ana, 108 F.3d 224, 226 (9th Cir. 1997).

                                                                         5         Second, he asserts in the FAC that the LASD misled him when he
                                                                         6
                                                                             attempted to pursue his claim in 2014. (FAC, Docket Document No. 28, ¶ 25, 33,
                                                                         7

                                                                         8   and 78). Plaintiff must plead the following elements of equitable estoppel: 1)

                                                                         9   knowledge of the true facts by the party to be estopped, 2) intent to induce reliance
                                                                        10
                                                                             or actions giving rise to a belief in that intent, 3) ignorance of the true facts by the
                                                                        11
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                                                                        12   relying party, and 4) detrimental reliance. Estate of Amaro v. City of Oakland, 653
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                                                                        13   F.3d 808, 813 (9th Cir. 2011), citing Bolt v. U.S., 944 F.2d 603, 609 (9th Cir. 1991).
                                                                        14
                                                                             Moreover, when estoppel is sought against the government, “there must be
                                                                        15

                                                                        16   affirmative misconduct (not mere negligence) and a serious injustice outweighing
                                                                        17   the damage to the public interest of estopping the government.” Id.
                                                                        18
                                                                                   Here, plaintiff cannot establish any of the requisite elements for equitable
                                                                        19

                                                                        20   estoppel. First, while plaintiff had knowledge of the true fact that his money had
                                                                        21   been taken by Collins, the County did not. Second, by his own admission, the
                                                                        22
                                                                             County told him the truth when it denied knowledge of the theft, so it was not
                                                                        23

                                                                        24   intending to induce any reliance by plaintiff. Third, plaintiff was not ignorant of
                                                                        25   the true facts. Finally, there clearly is no detrimental reliance as plaintiff submitted
                                                                        26
                                                                             his Government Tort Claim in November of 2014. However, instead of pursuing
                                                                        27

                                                                        28   his rights, he abandoned them. Therefore, all federal §1983 causes of action must
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                                                                         1   be dismissed with prejudice for failure to comply with the statute of limitations.
                                                                         2
                                                                              IV. EVEN IF NOT TIME-BARRED, THE MONELL CLAIMS FAIL
                                                                         3

                                                                         4          To succeed on the Monell claim, plaintiff must produce evidence to

                                                                         5   establish three elements: (1) the individual defendant deputies acted under color of
                                                                         6
                                                                             law; (2) the actions of the individual defendant deputies deprived the plaintiffs of
                                                                         7

                                                                         8   their particular rights under the United States Constitution; and (3) the individual

                                                                         9   defendant deputies acted pursuant to an expressly adopted official policy or a
                                                                        10
                                                                             longstanding practice or custom of the County. See 9th CIR. MODEL JURY INSTR.,
                                                                        11
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                                                                        12   9.5; Oviatt v. Pearce, 954 F.2d 1470, 1474 (9th Cir. 1992).
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                                                                        13          Additionally, it is well-established that a local governmental entity, such as
                                                                        14
                                                                             the County, cannot be liable for damages pursuant to 42 U.S.C. §1983 based solely
                                                                        15

                                                                        16   upon a theory of respondeat superior. Monell, supra, at 658. Instead, plaintiff has
                                                                        17   the burden of proving that such a “custom or practice” must be so “persistent and
                                                                        18
                                                                             widespread” that it constitutes a “permanent and well settled city policy.” Trevino
                                                                        19

                                                                        20   v. Gates, 99 F.3d 911, 918 (9th Cir. 1996); Gillette v. Delmore, 979 F.2d 1342,
                                                                        21   1349 (9th Cir. 1992) (plaintiff must present evidence proving “the existence of a
                                                                        22
                                                                             widespread practice that … is so permanent and well-settled as to constitute a
                                                                        23

                                                                        24   ‘custom or usage’ with the force of law.”). There also must be an affirmative link
                                                                        25   between the policy and the particular violation alleged. Oklahoma v. Tuttle (1995)
                                                                        26
                                                                             471 U.S. 808, 823.
                                                                        27

                                                                        28
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                                                                         1         To establish Monell liability for a failure to train or adequately supervise
                                                                         2
                                                                             subordinates, the evidence must show a pattern which amounts to the deliberate
                                                                         3

                                                                         4   indifference to rights of persons with whom the inadequately trained or supervised

                                                                         5   employees come into contact. Davis v. City of Ellenburg, 869 F.2d 1239 (9th Cir.
                                                                         6
                                                                             1989). Additionally, there is no liability pursuant to Section 1983 for negligence
                                                                         7

                                                                         8   because such liability must be predicated upon a deliberate deprivation of

                                                                         9   constitutional rights by defendant. Neither negligent training of an employee nor a
                                                                        10
                                                                             sound program occasionally administered negligently constitutes deliberate
                                                                        11
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                                                                        12   indifference. City of Canton v. Harris (1989) 489 U.S. 378, 391.
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                                                                        13          Finally, even if there was a violation of plaintiff’s rights, a single isolated
                                                                        14
                                                                             incident does not establish official policy sufficient to render the municipality
                                                                        15

                                                                        16   liable under Section 1983. Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996);
                                                                        17   Adell v. Las Vegas Metro Pol. Dept., 268 F.3d 924 (9th Cir. 2001). Proof of
                                                                        18
                                                                             random acts or isolated incidents of unconstitutional action by a non-policymaking
                                                                        19

                                                                        20   employee are insufficient to establish the existence of a municipal policy or
                                                                        21   custom. McDade v. West, 223 F.3d 1135, 1141 (9th Cir. 2000).
                                                                        22
                                                                                   Here, plaintiff cannot establish either an underlying violation of his
                                                                        23

                                                                        24   Constitutionally protected rights or that any such violation was a result of an
                                                                        25   established custom, policy, or procedure of the County of Los Angeles. The
                                                                        26
                                                                             undisputed facts are that the County had clear policies and procedures pertaining to
                                                                        27

                                                                        28   the investigation and discipline of deputy personnel. Moreover, those policies were
                                                                             ______________________________________________________________________________
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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1   followed regarding all known claims against Collins. Specifically, in contrast to
                                                                         2
                                                                             plaintiff’s claims to the contrary, the Nersoyan claim was investigated by the
                                                                         3

                                                                         4   LASD but the investigation was thwarted by Nersoyan’s own failure to cooperate.

                                                                         5         The Ninth Circuit has also held there is no duty to investigate, but rather, the
                                                                         6
                                                                             failure to investigate must involve “another recognized constitutional right” to rise
                                                                         7

                                                                         8   to a cognizable claim. Ogunrinu v. City of Riverside (9th Cir. 2003) 79 F.App’x

                                                                         9   961, 962-63; quoting Gomez v. Whitney, 757 F.2d 1005, 1006 (9th Cir. 1985). For
                                                                        10
                                                                             instance, an intentional failure to investigate due to racial discrimination violates
                                                                        11
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                                                                        12   the equal protection clause. Elliot-Park v. Manglona, 592 F.3d 1003, 1006 (9th
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                                                                        13   Cir. 2010).
                                                                        14
                                                                                   Finally, Monell liability only attaches for conduct that is “under color of
                                                                        15

                                                                        16   law.” Here, the alleged theft by Collins was clearly outside the course and scope of
                                                                        17   his employment such as to fail the “under color of law” requirement. See, Griffin v
                                                                        18
                                                                             Maryland, 378 U.S. 130, 135 (1964); Johnson v. Knowles, 113 F.3d 1114, 117 (9th
                                                                        19

                                                                        20   Cir. 1997); Huffman v. County of Los Angeles, 147 F.3d 1054, 1058 (9th Cir. 1998);
                                                                        21   and Van Ort v. Estate of Stanewich, 92 F.3d 831, 838 (9th Cir. 1996). As such,
                                                                        22
                                                                             there is no nexus between Collins’ duties for the County and his alleged wrongful
                                                                        23

                                                                        24   acts in furtherance of an illegal personal pursuit. For all these reasons herein, the
                                                                        25   Monell cause of action should be dismissed.
                                                                        26
                                                                             //
                                                                        27

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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1     V.    ALTHOUGH BIFURCATED BY THE COURT ON THE MOTION
                                                                         2
                                                                                     TO DISMISS, THE STATE LAW CLAIMS ALSO FAIL AS A
                                                                         3

                                                                         4           MATTER OF LAW AND SHOULD BE DISMISSED BY THIS

                                                                         5           COURT
                                                                         6
                                                                                    The FAC also asserts state law causes of action for common law fraud,
                                                                         7

                                                                         8   conversion, intentional infliction of emotional distress and trespass. While the

                                                                         9   court declined to address these claims on the motion to dismiss, it was without
                                                                        10
                                                                             prejudice to defendant’s right to address them at a later date. (Docket Doc. No. 38).
                                                                        11
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                                                                        12          It is well-established that before suing a governmental entity, like the
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                                                                        13   County of Los Angeles, plaintiff must comply with California Government Code
                                                                        14
                                                                             §911.2 which requires him to file a claim with the governmental entity within six
                                                                        15

                                                                        16   months of accrual of the action. Submission of a timely claim is a condition
                                                                        17   precedent to a tort action against a public entity. Janis v. State Lottery Comm.
                                                                        18
                                                                             (1998) 68 Cal.App.4th 824, 832; Shirk v. Vista Unified Sch. Dist. (2007) 42 Cal.4th
                                                                        19

                                                                        20   201, 209). Here, plaintiff did submit a timely claim on November 18, 2014.
                                                                        21          In addition, the factual circumstances alleged in the claim must correspond
                                                                        22
                                                                             to those alleged in the subsequent lawsuit. If the complaint alleges a factual basis
                                                                        23

                                                                        24   for recovery that is not fairly reflected in the written claim, the complaint is subject
                                                                        25   to a dispositive motion. Fall River Joint Unified School Dist. v. Superior Court.
                                                                        26
                                                                             (1988) 206 Cal.App.3d 431; Crow v. State, 222 Cal.App.3d 192 (1990). Here,
                                                                        27

                                                                        28   plaintiff’s 2014 claim alleges only the theft of $158,000 in cash. It is silent as to
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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1   any claim of trespass, fraud, or intentional infliction of emotional distress. Thus,
                                                                         2
                                                                             these claims must be dismissed.
                                                                         3

                                                                         4         Moreover, the County denied plaintiff’s 2014 claim on January 15, 2015 and

                                                                         5   in the denial letter plaintiff was cautioned that pursuant to Government Code
                                                                         6
                                                                             §945.6, he only had six (6) months from the date of the denial in which to file suit.
                                                                         7

                                                                         8   Yet, plaintiff did not file suit until 2019. As outlined above, plaintiff is not entitled

                                                                         9   to any tolling or equitable estoppel. The lawsuit must be filed within six (6) months
                                                                        10
                                                                             of rejection of the tort claim. Glorietta Foods, Inc. v. City of San Jose, 147
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   Cal.App.3d 835 (835).
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                                                                        13         In addition, for the taking and injuring of personal property, i.e. conversion,
                                                                        14
                                                                             fraud and trespass of personal property (claims four, eight and ten in the FAC), the
                                                                        15

                                                                        16   Ninth Circuit has adopted and applied the statute of limitations from California
                                                                        17   Code of Civil Procedure Section 338 of three years. Section 338 applies to any
                                                                        18
                                                                             action regarding the “taking, detaining, or injuring goods or chattels, including an
                                                                        19

                                                                        20   action for the specific recovery of personal property.” Cal. Code of Civ. Proc.
                                                                        21   §338(a). For example, the Ninth Circuit in Davies stated that: “The claim…is
                                                                        22
                                                                             clearly time barred by lapse of time. It alleges tortious conversion, and §338, subd.
                                                                        23

                                                                        24   3 of the California Code of Civil Procedure provides that an action for taking or
                                                                        25   detaining goods or chattels must be commenced within a period of three years
                                                                        26
                                                                             from the accrual of the claim.” Davies v. Carnation Co., 352 F.2d 393, 396 (9th
                                                                        27

                                                                        28   Cir. 1965) (internal citations omitted). In Orkin v. Taylor, plaintiff’s claim was
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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1   found to be time barred by the Ninth Circuit in a case where she tried to recover a
                                                                         2
                                                                             painting from defendant. Orkin v. Taylor, 487 F.3d 734, 741 (9th Cir. 2007). The
                                                                         3

                                                                         4   claim was time barred by California Code of Civil Procedure Section 338 because

                                                                         5   her claim accrued more than three years before she brought her suit (with theft of
                                                                         6
                                                                             art, “discovery” occurs when the location of the lost art is ascertained). Id.
                                                                         7

                                                                         8         Finally, plaintiff’s ninth claim for intentional infliction of emotional distress

                                                                         9   (“IIED”) is also time barred. The Ninth Circuit has unequivocally stated that the
                                                                        10
                                                                             statute of limitations for IIED is two years. Johnson v. Lucent Techs., Inc., 653 F.
                                                                        11
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                                                                        12   3d 1000, 1008 (9th Cir. 2011). Further, the claim for IIED accrues when the harm
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                                                                        13   is inflicted. Id. Here, plaintiff knew of the incident that gave rise to any IIED
                                                                        14
                                                                             claim immediately on May 28, 2014. Two years from the date of the incident was
                                                                        15

                                                                        16   May 28, 2016, over three years before he filed the present suit on September 18,
                                                                        17   2019. For all these reasons, all the state law claims also fail as a matter of law and
                                                                        18
                                                                             should be dismissed with prejudice.
                                                                        19

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                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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                                                                         1    VI. CONCLUSION
                                                                         2
                                                                                   For the foregoing reasons, defendant County of Los Angeles respectfully
                                                                         3

                                                                         4   requests that this Court grant its motion for summary judgment in its entirety and

                                                                         5   enter judgment in favor of defendant County of Los Angeles. In the alternative,
                                                                         6
                                                                             defendant seeks partial summary judgment on the cause of action addressed herein.
                                                                         7

                                                                         8   DATED: October 26, 2020         COLLINSON, DAEHNKE, INLOW & GRECO

                                                                         9                                   By:
                                                                                                                   /s/ Laura E. Inlow
                                                                        10
                                                                                                                   Laura E. Inlow, Esq.
                                                                        11                                         Attorneys for Defendant
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                                                                                                                   COUNTY OF LOS ANGELES
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                         1                       DECLARATION OF LAURA E. INLOW
                                                                         2
                                                                             I, Laura E. Inlow, declare as follows:
                                                                         3

                                                                         4
                                                                                   1.     I am a partner of Collinson, Daehnke, Inlow & Greco, counsel of
                                                                         5

                                                                         6   record for Defendant County of Los Angeles herein. I make the following

                                                                         7   declaration based on my own personal knowledge. I could and would competently
                                                                         8
                                                                             testify under oath to the facts stated herein.
                                                                         9
                                                                        10         2.     In his federal criminal matter, 18MJ00062, Kenneth Collins admitted

                                                                        11   to only the alleged theft of May 2014.
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                   3.     True and correct copies of the pertinent portions of the deposition of
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   plaintiff Daniel Nersoyan taken on October 15, 2020 are attached to the Appendix

                                                                        15   of Exhibits as Exhibit A.
                                                                        16
                                                                                   4.     True and correct copies of the pertinent portions of the deposition of
                                                                        17

                                                                        18   Kenneth Collins taken on November 18, 2019 in the case of Valencia v. County of
                                                                        19   Los Angeles, case number 19-cv-00471 are attached to the Appendix of Exhibits as
                                                                        20
                                                                             Exhibit B.
                                                                        21

                                                                        22         5.     A true and correct copy of plaintiff Daniel Nersoyan’s Government
                                                                        23   Tort claim dated November 18, 2014 is attached to the Appendix of Exhibits as
                                                                        24
                                                                             Exhibit C.
                                                                        25

                                                                        26         6.     A true and correct copy of the County’s tort claim denial letter dated
                                                                        27   January 15, 2015 is attached to the Appendix of Exhibits as Exhibit G.
                                                                        28
                                                                             ______________________________________________________________________________
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                                                                         1         7.     A true and correct copy of the Court’s ruling on the County’s motion
                                                                         2
                                                                             for summary judgment in the case of Valencia v. County of Los Angeles, case
                                                                         3

                                                                         4   number 19-cv-00471 is attached to the Appendix of Exhibits as Exhibit J.

                                                                         5         8.     Plaintiff Grant Valencia has filed a notice of appeal in case number
                                                                         6
                                                                             19-cv-00471 but has not yet filed his opening brief.
                                                                         7

                                                                         8         9.     A true and correct copy of plaintiff Daniel Nersoyan’s amended tort

                                                                         9   claim dated March 31, 2019 is attached to the Appendix of Exhibits as Exhibit K.
                                                                        10
                                                                                   10.    A true and correct copy of the County’s amended tort claim denial
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   letter dated April 8, 2019 is attached to the Appendix of Exhibits as Exhibit L.
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13         I declare under penalty of perjury under the laws of the United States of
                                                                        14
                                                                             America that the foregoing is true and correct. Executed this 26th day of October
                                                                        15

                                                                        16   2020 in Torrance, California.
                                                                        17                                          Laura E. Inlow
                                                                        18                                          Laura E. Inlow
                                                                        19

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                                                                         1                                 PROOF OF SERVICE
                                                                         2                                   Nersoyan v. COLA
                                                                                                            Case No. CV19-08109
                                                                         3

                                                                         4               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8         On October 26, 2020 I served the following document described as:
                                                                             DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
                                                                         9   OR, IN THE ALTERNATIVE, MOTION FOR PARTIAL SUMMARY JUDGMENT on
                                                                             all interested parties in this action by placing [X] a true copy [ ] the original
                                                                        10
                                                                             thereof enclosed in sealed envelopes addressed as follows:
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                                                                                                             Counsel for Plaintiff
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                         Michael S. Devereux, Esq.
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                    WEX LAW A PROFESSIONAL LAW CORPORATION
                                                                                                     1880 Century Park East, Suite 1101
                                                                        14                                Los Angeles, CA 90067
                                                                                                            Tel: 213-986-9844
                                                                        15                                  Fax: 213-342-6190
                                                                        16                                Email: mike@wex.law

                                                                        17          [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        18
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                        19   processing correspondence for mailing. Under that practice, this document will be
                                                                             deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        20
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        21   on motion of the party served, service is presumed invalid if postal cancellation
                                                                             date or postage meter date is more than one day after date of deposit for mailing in
                                                                        22
                                                                             affidavit.
                                                                        23
                                                                                    [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                        24   of the bar of this Court at whose discretion the service was made.
                                                                        25
                                                                                   Executed on October 26, 2020 at Torrance, California.
                                                                        26
                                                                                                                    /s/ Marianne M. Guillinta
                                                                        27
                                                                                                                    Marianne Guillinta
                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                -23-
                                                                             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR
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